        Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 1 of 12



BART M. DAVIS, IDAHO STATE BAR NO. 2696
UNITED STATES ATTORNEY
KATHERINE L. HORWITZ, OKLAHOMA STATE BAR NO. 30110
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF IDAHO
WASHINGTON GROUP PLAZA IV
800 EAST PARK BOULEVARD, SUITE 600
BOISE, ID 83712-7788
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-9375


                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,

                Plaintiff,                        Case No. 1:18-cr-00258-BLW

        vs.
                                                  GOVERNMENT’S MEMORANDUM ON
PAVEL BABICHENKO,                                 DUE PROCESS
GENNADY BABITCHENKO,

                Defendants.



       The United States of America, by and through Bart M. Davis, United States Attorney for

the District of Idaho, and Katherine Horwitz, the undersigned Assistant United States Attorney,

hereby submits its Memorandum on Due Process pursuant to this Court’s request for briefing.

On July 8, the Court requested memoranda detailing the expected trial date and discussing any

due process implications arising from the defendants’ detention through the present as well as the

expected detention through the trial date. ECF 263 (citing United States v. Salerno, 481 U.S.

739 (1987)).




MEMORANDUM ON DUE PROCESS—1
        Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 2 of 12



       As described below, the Ninth Circuit Court of Appeals held that the defendants’ pretrial

detention does not violate due process. This remains true today—four months later. And, under

Ninth Circuit precedent, the defendants’ continued detention in this matter through trial is

constitutional given their risk of flight, the complexities of the case, and their request for a

lengthy trial continuance.

                                PROCEDURAL BACKGROUND

       After the defendants’ indictment for trafficking and money laundering in mid-August, the

magistrate judge held a hearing on the government’s motion for detention on August 28, 2018.

ECF 88. The magistrate judge found that no set of conditions could reasonably assure the

defendants’ appearance at trial and detained them as a risk of flight under the Bail Reform Act,

18 U.S.C. § 3143(b). The defendants moved to reconsider/appealed the magistrate judge’s

detention ruling in the district court. ECF 98. The district court conducted a second hearing.

That court, too, concluded that the defendants were a risk of flight under the Bail Reform Act. It

issued its decision on September 25, 2018. ECF 124; 128. The defendants did not appeal.

       On October 22, 2018, the government filed an unopposed motion for complex case

designation pursuant to 18 U.S.C. § 3161(h)(7)(ii) and a trial continuance for one year. ECF

134. In that motion—based on the representations of all defense counsel—the government noted

that all defense counsel had met, convened, and agreed to a one-year continuance of the trial. Id.

at 4. Before that filing, defense counsel had collectively represented to the government that a

one-year continuance was necessary to adequately prepare a defense in light of the complexities

of the case. Id.




MEMORANDUM ON DUE PROCESS—2
        Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 3 of 12



       After the government filed the unopposed motion, one of the ten defendants—Gennady

Babitchenko—changed course, noticed his objection to a complex case designation, and sought a

ninety-day continuance of the then impending trial date. ECF 135 (Gennady Babitchenko). To

allow consideration of the pending motion to designate the case as complex, the district court

granted Gennady Babitchenko’s motion to continue the trial for ninety days, resetting the trial for

January 22, 2019. Order, ECF 136.

       During the next sixteen days, eight of Gennady Babitchenko’s fellow co-defendants

followed suit: each filed a two-sentence objection to both the complex-case designation under

the Speedy Trial Act as well as a second trial continuance beyond January 22, 2019. ECF 137–

41, 143, 147, 148. The government asked for a trial continuance to October 2019. The district

court granted the motion for complex-case designation under the Speedy Trial Act, “[g]iven the

obvious complexity” of the case but denied the government’s one-year trial continuance, ECF

157 at 5–6. The trial date was scheduled for June 3, 2019. Gennady Babitchenko thereafter

requested a one-month trial continuance to July, 2019, ECF 159, which the district court granted,

ECF 161. The district court reset the trial date for July 29, 2019. ECF 207.

       On January 28, 2019, the defendants again moved for release, this time solely citing the

due process clause. ECF 164. The district court denied this motion on January 30, 2019. ECF

166. The defendants then filed interlocutory appeals in the Ninth Circuit Court of Appeals.

NOA, 19-30024 (Jan. 31, 2019). On appeal, the defendants argued that the anticipated length of

their detention violates due process, warranting their immediate release from custody. The Ninth

Circuit disagreed. United States v. Babitchenko, Case No. 19-30024, 2019 WL 2022662, at *1

(9th Cir. Mar. 22, 2019). Specifically, the Ninth Circuit held that the defendants’ “contentions



MEMORANDUM ON DUE PROCESS—3
        Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 4 of 12



that anticipated future delays will render their detention unconstitutional are not yet ripe, and we

decline to address them.” Id. The appellate court therefore affirmed the district court’s denial of

the defendants’ due process claims.

        During the June 6, 2019, status conference with the district court, the defendants asked

for a trial continuance to October 2020, citing their need to investigate this massive conspiracy,

which includes international evidence and witnesses, obtain defense experts, and cull through the

huge amount of electronic discovery and physical evidence. See ECF 231. Notably, the district

court has continued to stress the need to expeditiously proceed to trial. While the district court

set trial for October 5, 2020, the district court also stressed that trial may well be reset before that

date. See Minute Entry, July 19, 2019.

                                     LEGAL FRAMEWORK

        Congress enacted the Bail Reform Act to “give the courts adequate authority to make

release decisions that give appropriate recognition to the danger a person may pose to others if

released” or pose a risk of flight, and thus governs a court’s decision about whether to release an

arrestee pending trial. United States v. Salerno, 481 U.S. 739, 742 (1987). The Speedy Trial

Act accommodates delay caused by an unusually complex case by recognizing that an ends-of-

justice delay may be appropriate when:

        the case is so unusual or so complex, due to the number of defendants, the nature
        of the prosecution, or the existence of novel questions of fact or law, that it is
        unreasonable to expect adequate preparation for pretrial proceedings or for the
        trial itself within the time limits established by this section.

18 U.S.C. § 3161(h)(7)(ii). Interpreting this section, the Ninth Circuit has held a case is

sufficiently complex when the matter involves multiple defendants, multiple counts of complex

wire-fraud charges, voluminous discovery, and witnesses “from both within and outside of


MEMORANDUM ON DUE PROCESS—4
        Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 5 of 12



Idaho.” See United States v. Butz, 982 F.2d 1378, 1381 (9th Cir. 1993). Sometimes, therefore,

application of the complex-case timeframe under the Speedy Trial Act lengthens pretrial

detention of a defendant.

       While the length of pretrial detention raises a constitutional issue at some point, the

Supreme Court has declined to define the point at which pretrial detention becomes excessively

prolonged and, therefore, punitive. See id. at 739. So too has the Ninth Circuit refused to define

a timeframe for determining whether pretrial detention is excessively prolonged. See United

States v. Gelfuso, 838 F.2d 358, 359–60 (9th Cir. 1988). Instead, “the due process limit on the

length of pretrial detention requires assessment on a case-by-case basis.” Id. at 359. Cases

considering due process claims based on pretrial detention generally analyze those claims

depending upon the length of pretrial detention. See generally United States v. Ailemen, 165

F.R.D. 571, 581 (N.D. Cal. 1996) (collecting authority).

       Initially, a timeframe of six months to one year in pretrial custody is considered

“relatively short,” which courts recognize as unripe and not yet implicating due process. See id.

at 582–83. Medium length detentions—a year to two years—are reviewed more closely by

questioning the cause of the delay and the culpability of the defendant in delay. Id. Finally,

when a defendant has been detained for a substantial period of time (more than two years),

special circumstances must be “especially acute” and the government must not bear

responsibility for the delay. See id. Courts rely on three factors in this analysis: (1) the

nonspeculative length of expected confinement; (2) the extent to which the government (the

prosecution and/or the court system) bears responsibility for the pretrial delay; and (3) the

strength of the evidence indicating a risk of flight. Id. at 578.



MEMORANDUM ON DUE PROCESS—5
        Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 6 of 12



                                          ARGUMENT

       The defendants have been detained eleven months on a serious conspiracy charge for

which their term of imprisonment is close to the statutory maximum sentence of 20 years’

imprisonment. Accordingly, the defendants have yet to even fall within the first group: their

nonspeculative time in custody falls below the one-year marker recognized by the case law. As

the Ninth Circuit recently recognized, the defendants’ due process claim is therefore not yet ripe.

What is more, the Ninth Circuit rejected the defendants’ invitation to project the due process

claim to future lengths of detention. See Babitchenko, 2019 WL 2022662, at *1 (9th Cir. Mar.

22, 2019). Specifically, the Ninth Circuit held that the defendants’ “contentions that anticipated

future delays will render their detention unconstitutional are not yet ripe, and we decline to

address them.” Id. Regardless, even if so projected, due process is not violated.

       Nonspeculative Length of Pretrial Detention

       The government was prepared to proceed to trial approximately one year after

indictment, but the defendants sought a substantial continuance to October 2020. Today, the trial

date was reset as the defendants suggested. Regardless, the actual trial date is uncertain. Both

the government and the district court aspire to conduct the trial before October 2020, but also

recognize the defendants’ important interest in effective preparation and representation.

Regardless, far lengthier detention has been found not to violate due process in complex cases.

See United States v. Bundy, Case No. 2:16-cr-00046-GMN-PAL, 2017 WL 3838032, at *9–13

(D. Nev. Sept. 1, 2017) (holding that defendants’ 18–19 month pretrial detention did not violate

due process when case had been deemed complex under the Speedy Trial Act); United States v.




MEMORANDUM ON DUE PROCESS—6
        Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 7 of 12



El–Gabrowny, 35 F.3d 63, 64–65 (2d Cir. 1994) (pretrial detention of 27 months before

conclusion of trial was constitutional because length “will rarely by itself offend due process”).

       Responsibility for Delay

       What is more, the complexities of the case are due to the defendants’ actions: they

moved an incredible volume of counterfeit products, created hundreds of business entities to

evade detection, opened hundreds of bank accounts, conducted thousands of wire transfers to

obfuscate the source of the funds, and involved dozens of coconspirators—spread across three

continents. See, e.g., Ex. 1 (photos of warehouse); Ex. 22 at 11 (Pavel boasting that he would

like to move a minimum of 5,000 phones per month), 13–16 (instructing the manufacturer to use

multiple (defunct) business names, altered personal names, and different addresses to avoid

detection by customs officials); see also Ex. 9 (fraudulent invoices). Their actions rendered this

case complex under the Speedy Trial Act. And, “application of the complex-trial exception to

the Speedy Trial Act does not by itself change the regulatory nature of pretrial detention.” United

States v. Hare, 873 F.2d 796, 801 (5th Cir. 1989).

       Given the complexity of the conspiracies and the criminal conduct, the investigation has

been complex and lengthy, resulting in voluminous evidence. That investigation was necessary.

Unlike obviously criminal conduct, such as a drug conspiracy, the criminal nature of an

intellectual-property conspiracy and money-laundering conspiracy is not always facially evident.

Accordingly, this multi-agency investigation has resulted in approximately 400,000 pages in

initial discovery, including 11,867 pages of investigative reports from Homeland Security

Investigations (“HSI”); 589 pages of investigative reports from the Federal Bureau of

Investigation (“FBI”); 325,365 pages of bank records; 12,626 e-mails; 199 pages of Trademark



MEMORANDUM ON DUE PROCESS—7
          Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 8 of 12



Certificates from the U.S. Patent and Trademark Office; and almost 1,000 pages of search and

seizure warrants executed during this investigation. The second round of discovery contained

approximately 500,000 e-mails. All of which was provided within two months of indictment.

         The defendants’ conspiracy resulted in a mountain of physical evidence as well. From

the smaller warehouse, agents seized nine pallets of suspected counterfeit goods, which totaled

to 13,416 separate items.1 In the larger warehouse, agents seized fifty-one pallets, which totaled

to 90,357 separate items. Illustrative of the nature of these seizures are the 8,399 empty Apple

iPhone packages and 18,768 empty Samsung packages seized from the larger warehouse. Apart

from the evidentiary value such items may have, the government had an independent duty to

seize items bearing counterfeit trademarks as contraband—and ultimately destroy them. See 18

U.S.C. §§ 2320, 2323. Accordingly, the government could not simply abandon suspected

contraband at the search site.

         Like the physical evidence collected from the warehouses, the electronic evidence is

vast. Agents seized approximately 96 computers—with a collective capacity of approximately

75 Terabytes—from the warehouses and residences. The forensic images of the hard drives



1
    Specifically, among others, the agents seized the following items:
      Apple charging cables, earbuds, iPhone packaging, iPad packaging, and USB power
         adapters;
      Motorola phone backing, phone batteries, charging cables, phone retail packaging, and
         Droid Turbo 2 Retail Packaging;
      Samsung USB adapters, batteries, Galaxy retail packaging, charging cables, earbuds,
         Galaxy Instruction Booklets (Quick Start Guide), Gear S2 Retail packaging, Galaxy
         Grand Retail packaging, Galaxy S3 Mini retail packaging, i405 Stratosphere cellular
         phone, Samsung Galaxy Ace cellular phone, Samsung Galaxy S4 Zoom cellular phone,
         Samsung Galaxy S4 cellular phone, Samsung Exhibit 2 cellular phone (Model T679),
         Samsung Galaxy Light cellular phone (Model T399), and used and broken cellular
         phones.


MEMORANDUM ON DUE PROCESS—8
        Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 9 of 12



from the 96 computers were placed on 42 destination hard drives, each with an approximate

capacity of four to six Terabytes. As of this filing, all electronic data has been copied and

provided to the discovery coordinator. The government is “doing all [it] reasonably can be

expected to do to move the case along.” United States v. Infelise, 934 F.2d 103, 104–05 (7th

Cir. 1991) (finding no due process violation by two-plus years of pretrial detention in complex

case). Like the complexity and scope of the conspiracy, the defendants are responsible for the

October 2020 trial date. They sought a lengthy continuance, not the government.

       Risk of Flight2

       This Court ordered that both the defendants be detained for good reason. All those

reasons remain and more have since been uncovered. For example, in a recent June 2019

interview with federal agents, a cooperating witness (CW) disclosed that they were approached

by Piotr Babichenko at the Morningstar Church and asked to work for the cell phone business as

a “customer service representative.” Eventually, the CW was asked to open both a bank account

and an Amazon account to sell counterfeit products, which Pavel and Piotr Babichenko would

then operate. The CW described their 6% cut, how they repackaged goods in the Babichenko’s

warehouse, and how they quickly discovered the products were not genuine based on the

identical serial numbers on the phones. The CW also stated that Igor Babichenko sold cell



2
         The government has additional, new proffer supporting the defendants’ continued risk of
flight. For brevity’s sake, each is not fully addressed herein. Attached, however, are
Government’s Exhibits 1 through 26, which all support detention. By way of example, in Exhibit
25, Pavel Babichenko instructs a manufacturer to “make sure sticker says made by apple.”
Exhibit 22 includes WeChat excerpts between Pavel and a Chinese manufacturer wherein the
two openly discuss “fake” goods and how to get around customs. Ex. 22, 3–4, 6–7 (describing
using different business names, addresses, and fake names). And Exhibit 24 details the large
amount of money—$5,580,045.20—wired to a Midstar LLC bank account controlled by Pavel
and his wife from Hong Kong.

MEMORANDUM ON DUE PROCESS—9
       Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 10 of 12



phones for Midstar and that the Babichenkos were building property in Brazil for “spiritual”

mission work, intending to relocate there. See also Ex. 13 (discussing Gennady, Paul, Tim, and

Igor’s Brazilian properties).

       Recently, Pavel and Gennady Babichenko’s brother, Igor Babichenko, has fled the

country under alarming circumstances. On June 5, 2019, federal agents visited Igor Babichenko

and his wife Natalya’s home in Jacksonville, Florida. Natalya answered the door but refused to

speak with the agents. Three days later, Igor, Natayla, and their three kids traveled to Brazil.

They were to return to the United States on June 25, 2019, but did not. Nor have they returned

since. On July 17, 2019, federal agents visited their home in Jacksonville, Florida, and

discovered a realtor’s lock box on the door.

       The defendants’ financial activity likewise confirms their plan to relocate to Brazil. At

the time of indictment, August 2018, Pavel Babichenko had $184,680.85 in equity in his home in

Meridian, Idaho, which is valued at $1,267,300.00. He had an interest-only loan. Rather than

invest his property in Idaho, Pavel Babichenko transferred $1,410,852.41 to Brazil. Gennady

Babitchenko transferred at least $2,501,262.14. In total, the Babichenkos have relocated at least

$4,148,314.55 to Brazil. The figure continues to increase. And, contrary to the defendants’

suggestion otherwise, Brazil would not extradite the defendants. See Ex. 26, 2–3 (excluding

intellectual property and money laundering crimes), 4 (prohibiting extradition “[w]hen the

person whose surrender is sought has already been or is at the time of the requested (sic) being

prosecuted in the requested State for the crime or offense for which his extradition is

requested.”). Additionally, the defendants face serious criminal liability. Based on the

government’s investigation and calculations, the defendants face at least a U.S. Sentencing



MEMORANDUM ON DUE PROCESS—10
        Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 11 of 12



Guideline range of 235 to 293 months’ imprisonment. See U.S.S.G. §§ 2B1.1, 2B5.3(b)(6),

3B1.1(a). The length of their pretrial detention is thus much shorter than their potential sentence.

       Even if the Court projects detention to October 2020, longer periods of delay—three

years in some circumstances—have been upheld by the Ninth Circuit as proper under due

process. See United States v. Elmore, Case No. 13-cr-00764-WHO-1, 2016 WL 6427911, at *2

(N.D. Cal. Oct. 31 2016) (citing Ailemen, 165 F.R.D. 571) (recognizing that up to three-year

pretrial detention was likely given the pendency of the government’s interlocutory appeals in the

Ninth Circuit), aff’d, 2016 WL 10520758, at *1 (9th Cir. Dec. 16, 2016) (holding no due process

violation).

                                         CONCLUSION

       As of now, the defendants have been in custody eleven months. This does not violate due

process. Even if this Court projected the length of detention to October 2020, due process is not

violated for the above-stated reasons. Simply, the defendants are a serious risk of flight, they

requested the extended delay and created the complexities of which they complain. Accordingly,

their due process argument fails, as the Ninth Circuit recently found.

                              Respectfully submitted this 19th day of July, 2019.

                                                 BART M. DAVIS
                                                 United States Attorney
                                                 By:


                                                 /s/ Katherine Horwitz
                                                 Katherine Horwitz
                                                 Assistant United States Attorney




MEMORANDUM ON DUE PROCESS—11
       Case 1:18-cr-00258-BLW Document 283 Filed 07/19/19 Page 12 of 12




                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on July 19, 2019, the foregoing Memorandum on Due

Process was electronically filed with the Clerk of the Court using the CM/ECF system, and that

a copy was served on the following parties or counsel by:


  JOHN DEFRANCO                                     ☐ United States Mail, postage prepaid
  1031 E. Park Blvd.
  Boise, Idaho 83712                                ☐ fax
 jcd@greyhawklaw.com                                ☒ ECF filing
 Attorney for Pavel Babichenko
                                                    ☐ email

   JEFFREY BROWNSON                                 ☐ United States Mail, postage prepaid
   223 North 6th Street, Suite 215
   Boise, ID 83702                                  ☐ fax
   jb@jeffreybrownsonlaw.com                        ☒ ECF filing
   Attorney for Gennady Babitchenko
                                                    ☐ email



                                                            /s/ Katherine Horwitz
                                                            Assistant United States Attorney




MEMORANDUM ON DUE PROCESS—12
